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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI

NORTHERN DIVISION

UNITED STATES OF AMERICA,
PLAINTIFF,

Vy. 4 .

Civil No. 3 ‘Hoey H8Q WHO ~ SCG
HINDS COUNTY: THE HINDS COUNTY
BOARD OF SUPERVISORS; VICTOR MASON,
HIND COUNTY SHERIFF, IN HIS OFFICIAL
CAPACITY,

DEFENDANTS.

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SETTLEMENT AGREEMENT BETWEEN
THE UNITED STATES OF AMERICA AND HINDS COUNTY, MISSISSIPPI
REGARDING THE HINDS COUNTY JAIL

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PARTIES

1. This Consent Judgment (“Agreement”) is between the United States of America (“United
States” or “Plaintiff’), acting through the United States Department of Justice (“DOJ”), and
Hinds County, Mississippi (‘County” or “Defendants”), acting through the Hinds County
Sheriff (“Sheriff”) and Hinds County Board of Supervisors (“Board”) (collectively, the
“Parties”). The Sheriff has entered into this Agreement in his official capacity only.

INTRODUCTION

2. The Parties enter this Agreement to provide County prisoners with reasonable safety,
protection from harm, and conditions of confinement that conform to the requirements of the
United States Constitution and federal law. The County recognizes that it must provide
prisoners with adequate supervision and housing in order to prevent violence between
prisoners and the use of excessive force by detention staff. The County.also acknowledges
that government detention is a serious infringement on the rights of citizens and other
individuals, and is thus subject to constitutional limits. Detention is permitted only when
justified by law, may last no longer than permitted by law, and should be administered in a
manner that balances the community’s interest in safety with individuals’ right to liberty. The
Parties agree that achieving the goals of this Agreement will require increased detention
staffing and supervision; enhanced policies, procedures, training and staff accountability
measures; modification of detention facilities; and the development and implementation of a

release system that protects detainees’ constitutional rights.

3. The County has agreed to enter into this Agreement in order to address constitutional
violations alleged by the United States, including specifically violations described in the

findings letter issued by the United States on May 21, 2015.

4. The Hinds County Adult Detention Center (SHCDC”) and Work Center (“Farm”) in
Raymond, Mississippi, and the Jackson Detention Center (“JDC”) in Jackson, Mississippi, are
collectively referred to as the “Jail.” The Jail is an integral part of the public safety and

criminal justice system in Hinds County. Through the provisions of this Agreement, the

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Parties seek to ensure that the conditions in the Jail comply with the United States
Constitution.

5, The County is responsible for funding, operating, and maintaining the J ail. The County
acknowledges that it must fund, operate, and maintain the Jail in a manner that complies with
the United States Constitution. This obligation specifically includes a duty to provide
sufficient staffing, training, and supervision to protect incarcerated persons from violence, to
prevent the excessive use of force, and to ensure that individuals are detained only to the
extent permitted under the Constitution. Nothing in this paragraph is intended to alter the
legal duties, authorities, or responsibilities of the Defendants as defined by state or federal

law.

6, The County also recognizes that compliance could be furthered through voluntary efforts
that seek to reduce the population of the County detention centers and work farm, particularly
special needs populations such as individuals with serious mental illness and juveniles. The
Parties will work toward the goal of population reduction in a manner that preserves public
safety, prioritizes diversion for unnecessary criminal justice involvement, and reduces

recidivism.

7, Conditions in County detention facilities have been a subject of private litigation. Other
cases alleging overcrowding or other systemic issues involving County prisoners include
Wilson v. City of Jackson, et al, No. 3:80-cv-00008-DCB-AGN (S.D. Miss.); Bell v. City of
Jackson, et al, No. 3;15-cv-732-TSL-RHW (S.D. Miss.); and J.H. v. Hinds County, Miss, et
al, No. 3:11-cv-327-DPJ-FKB (S.D. Miss.).

DEFINITIONS
8. “Days” are measured in calendar days; Saturdays, Sundays, and holidays are included,

9, “Direct supervision” is a term of art used by corrections professionals and refers to a
model for safely operating and supervising a correctional facility. The direct supervision
method for supervising a correctional facility requires placing detention officers inside
housing units, where such officers have continuous direct contact with prisoners and are not

routinely separated from prisoners by physical barriers. Officers are required to provide

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active supervision of housing areas, which includes routinely interacting with, and checking
on, prisoners in their charge. Video surveillance, separate control rooms, and other techniques
or design features used to maintain security and safety, are permitted as complements to, but
not replacements for, direct supervision by housing unit officers. A direct supervision facility
requires integration of design, staffing, training, and procedures so that all operations are

consistent with the model.

10. “Effective Date” means the date the Court approves this Agreement as an order of the

Court,

11. “Barly Intervention System” (or “EIS”) is a system to collect and analyze data regarding
uses of force and is used to identify the need for corrective action, including changes to
training protocols and policy, as well as retraining or disciplining individual officers or groups

of officers.

12. A “health assessment” refers to a medical evaluation by a Qualified Medical Professional
or Qualified Mental Health Professional. A health assessment specifically identifies a
patient’s individual health needs, utilizing generally accepted forms, screening tools,
assessment instruments, physical exams, and other scientifically reliable and valid techniques.
A health assessment must be sufficient to collect and document information necessary to
provide a basis for the patient’s treatment. A suicide assessment is a health assessment that
must also specifically evaluate and estimate the individual’s risk for suicide and self-harming

behavior.

13. “Implement” or “implementation” means putting a policy, procedure, or remedial
measure into effect, including informing, instructing, or training impacted staff and ensuring

that staff in fact follow the policy, procedure, or remedial measure.

14. “Include,” “includes,” or “including” means “include, but not be limited to,” “includes,

but is not limited to,” or “including, but not limited to.”

15. “Interdisciplinary team” refers to a team consisting of treatment staff from various
disciplines, including, at minimum, a physician, nurse, Qualified Mental Health Professional,

and one or more members from security.

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16. “Jail” refers to HCDC, JDC, and the Work Center (“Farm”). For purposes of
interpreting and enforcing this Agreement, the term also refers to any facilities used to
expand, supplement, or replace HCDC and JCDC, The term also includes any new
construction, contracted facilities, leased facilities, renovated facilities, or other replacement

facilities used to house County prisoners.

17. “Monitor” means an individual and his or her team of professionals, if any, who are
approved by the Court pursuant to the provisions of this Agreement to oversee and facilitate

implementation of the Agreement.

18. “Planned force” or “planned use of force” means a use of force in response to a prisoner’s
actions, where the prisoner’s behavior does not pose an imminent threat to the prisoner’s own
safety or another individual’s safety. Examples include cell extractions to remove a
recalcitrant prisoner, force used to restrain a prisoner in order to prevent continuing property
damage, and medically-ordered restraints on a prisoner exhibiting escalating signs of mental

illness.

19. “Prisoners” or “prisoner” is construed broadly to refer to one or more individuals
detained at, housed in, held in, in the custody of, or confined at the Jail for any reason,
including as a result of arrest, criminal charges, detainers, civil contempt charges, involuntary

civil commitment, or convictions,

20. “Qualified Medical Professional” means an individual who possesses the education,
experience, training, credentialing, and licensing required to provide the medical services for

which he or she has responsibility for providing.

21. “Qualified Mental Health Professional” means an individual who possesses the
education, experience, training, credentialing, and licensing required to provide the mental
health services for which he or she has responsibility for providing. A Qualified Mental
Health Professional must be either a doctorate-level psychologist, psychiatrist, psychiatric

nurse, or a master’s level licensed clinical (or psychiatric) social worker.

22, “Qualified Training Officer” means a state certified deputy with the education,

experience, training, credentialing, and licensing required to serve as a Jail instructor. A

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Qualified Training Officer must have at least three years of field experience and demonstrated

familiarity with professional standards and Jail policies. .

23. “Reportable incident” refers to any incident that involves a prisoner death or serious
injury, suicide attempt, self-harming behavior, rape, sexual threat or abuse, use of force or
restraint, use of segregation, medical emergency, escape or escape attempt, criminal activity,
or fire. Reportable use of force or restraint incident reporting is governed by the Use of Force

section of this Agreement,

24. “Segregation” means involuntary confinement in a locked room or cell with two or fewer
prisoners, for at least the majority of waking hours per day. “Long-term segregation” means a _
period of segregation intended to last, or that does last, more than fourteen (14) consecutive

days.

25. “Self-harm” includes head-banging, cutting, intentional medication overdoses, and other

self-directed, injurious or potentially injurious behavior.

26. “Serious injury” means any injury that is extensive, serious, visible, or likely to become
visible. “Serious injury” includes black eyes, lacerations, injuries to the mouth or head,

multiple bruises, injuries to organs, and injuries causing unconsciousness or death.

27. A prisoner with a “serious mental illness” (or “SMI”) is a person with a mental,
behavioral, or emotional disorder of mood, thought, or anxiety that is diagnosable currently or
within the last year; that significantly impairs judgment, behavior, capacity to recognize
reality, and the ability to cope with the demands of life in the general population facilities of
the Jail.

28. “Special management’ means prisoners who are in administrative or disciplinary
segregation, in protective custody, on suicide precautions, require treatment or monitoring for
a medical or mental health condition (including physical, developmental, and cognitive
disabilities), or who are age 17 or younger. Special management can also refer to units

housing this category of prisoners.

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29. “Staff members” includes all county employees, contractors, volunteer's, or agents,

including detention officers and medical personnel, who work in the Jail.

30, “Suicide attempt” means any non-fatal, self-directed, potentially injurious behavior,
where there was an intent to die as a result of the behavior, or any non-fatal, self-directed,
self-harming behavior that results or could have resulted in a serious injury. Even if stopped
before actual injury, a suicide attempt is reportable under this Agreement if the attempted act

could have resulted in serious injury.

31. “Suicide precautions” mean any measures to prevent suicide or self-harm, including

observation of a prisoner.

32. “Train” means to instruct in skills to a level that the trainee has demonstrated proficiency
by testing to implement those skills as and when called for. “Trained” means proficient in the
skills. .

33. “Use of force” means the application of physical, chemical, or mechanical measures on a
prisoner. “Use of force” includes all force to compel compliance except un-resisted

handcuffing and un-resisted shackling of prisoners for movement purposes.
a. “Level | uses of force” include:

i. all serious uses of force, meaning the use of force leads to injuries that
are extensive, serious, visible, or become visible, including black
eyes, lacerations, injuries to the mouth or head, multiple bruises,
injuries to organs, and injuries causing unconsciousness or death;

il. force applied in violation of Jail policies and procedures (¢.g.,

unauthorized, retaliatory use of force);

ii, use of tasers;
iv. ° use of chemical munitions, including pepper spray; and
Vv. occasions when staff member accounts offer inconsistent, conflicting,

or otherwise suspicious reports about a use of force.

b. “1 evel 2 uses of force” will include all uses of force not covered by the

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definition of Level 1 force (e.g., a control hold).

34. “Youth” and “youthful prisoner” means any person in County custody who is under the

age of 18.

35. Throughout this Agreement, the following terms are used when discussing compliance:
substantial compliance, partial compliance, and non-compliance. “Substantial Compliance”
indicates that the County has achieved compliance with the material components and has met
the goals of the relevant provision of the Agreement. “Partial Compliance” indicates that the
County achieved compliance with some of the components of the relevant provision of the
Agreement, but significant work remains. “Non-compliance” indicates that the County has

not met most or all of the components of the relevant provision of the Agreement.
IV. SUBSTANTIVE PROVISIONS
A. PROTECTION FROM HARM

Consistent with constitutional standards, the County must take reasonable measures to
provide prisoners with safety, protect prisoners from violence committed by other prisoners, and

ensure that prisoners are not subjected to abuse by Jail staff. To that end, the County must:

37. Develop and implement policies and procedures to provide a reasonably safe and secure

environment for prisoners and staff. Such policies and procedures must include the following:

a. Booking;

b. Objective classification;

¢ Housing assignments;

d. Prisoner supervision;

e. Prisoner welfare and security checks (“rounds”);
f. Posts and post orders;

g. Searches;

h. Use of force;

1. Incident reporting;

je Internal investigations;

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k, Prisoner rights;

1. Medical and mental health care;
m. Exercise and treatment activities;
n Laundry;

oO, Food services;

p Hygiene;

q. Emergency procedures;

r Grievance procedures; and

8. Sexual abuse and misconduct.

38. Ensure that the Jail is overseen by a qualified Jail Administrator and a leadership team
with substantial education, training and experience in the management of a large jail,
including at least five years of related management experience for their positions, and a
bachelor’s degree, When the Jail Administrator is absent or if the position becomes vacant, a
qualified deputy administrator with comparable education, training, and experience, must

serve as acting Jail Administrator.

39. Ensure that all Jail supervisors have the education, experience, training, credentialing,
and licensing needed to effectively supervise both prisoners and other staff members. At
minimum, Jail supervisors must have at least 3 years of field experience, including experience
working in the Jail. They must also be familiar with Jail policies and procedures, the terms of

this Agreement, and prisoner rights.

40, Ensure that no one works in the Jail unless they have passed a background check,

including a criminal history check.

41, Ensure that Jail policies and procedures provide for the “direct supervision” of all Jail

housing units.

42. Ensure that the Jail bas sufficient staffing to adequately supervise prisoners, fulfill the
terms of this Agreement, and allow for the safe operation of the Jail. The parties recognize

that the Board allocates to the Sheriff lump sum funding on a quarterly basis. The Sheriff

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recognizes that sufficient staffing of the Jail should be a priority for utilizing those funds. To

that end, the County must at minimum:

a. Hire and retain sufficient numbers of detention officers to ensure that:

il.

There are at least two detention officers in each control room at all
times;

There are at least three detention officers at all times for each housing
unit, booking area, and the medical unit;

There are rovers to provide backup and assistance to other posts,

iv. Prisoners have access to exercise, medical treatment, mental health
treatment, and attorney visitation as scheduled;
Vv. There are sufficient detention officers to implement this Agreement.
b. Fund and obtain a formal staffing and needs assessment (“study”) that

determines with particularity the minimum number of staff and facility

improvements required to implement this Agreement. As an alternative to a

new study, the September 2014 study by the National Institute of Corrections

may be updated if the updated study includes current information for the

elements listed below. The study or study update must be completed within

six months of the Effective Date and must include the following elements:

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The staffing element of the study must identify all required posts and
positions, as well as the minimum number and qualifications of staff to
cover each post and position.

The study must ensure that the total number of recommended positions
includes a “relief factor” so that necessary posts remain covered
regardless of staff vacancies, turnover, vacations, illness, holidays, or
other temporary factors impacting day-to-day staffing.

As part of any needs assessment, the study’s authors must estimate the
number of prisoners expected to be held in the Jail and identify

whether additional facilities, including housing, may be required.

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Once completed, the County must provide the United States and the Monitor
with a copy of the study and a plan for implementation of the study’s
recommendations. Within one year after the Monitor’s and United States’
review of the study and plan, the County must fund and implement the
staffing and facility improvements recommended by the study, as modified
and approved by the United States.

The staffing study shall be updated at least annually and staffing adjusted
accordingly to ensure continued compliance with this Agreement. The parties
recognize that salaries are an important factor to recruiting and retaining
qualified personnel, so the County will also annually evaluate salaries.

The County will also create, to the extent possible, a career ladder and system
of retention bonuses for Jail staff,

Develop and implement an objective and validated classification and housing
assignment procedure that is based on risk assessment rather than solely on a
prisoner’s charge. Prisoners must be classified immediately after booking,
and then housed based on the classification assessment. At minimum, a
prisoner’s bunk, cell, unit, and facility assignments must be based on his or
her objective classification assessment, and staff members may not transfer or
move prisoners into a housing area if doing so would violate classification
principles (e.g., placing juveniles with adults, victims with former assailants,
and minimum security prisoners in a maximum security unit). Additionally,
the classification and housing assignment process must include the following

elements:

i. The classification process must be handled by qualified staff who have
additional training and experience on classification.

ii. The classification system must take into account objective risk factors
including a prisoner’s prior institutional history, history of violence,
charges, special needs, physical size or vulnerabilities, gang affiliation,
and reported enemies.

iii. Prisoner housing assignments must not be changed by unit staff
without proper supervisor and classification staff approval.

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iv.

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The classification system must track the location of all prisoners in the
Jail, and help ensure that prisoners can be readily located by staff. The
County may continue to use wrist bands to help identify prisoners, but
personal identification on individual prisoners may not substitute for a
staff-controlled and centralized prisoner tracking and housing
assignment system.

The classification system must be integrated with the Jail prisoner
record system, so that staff have appropriate access to information
necessary to provide proper supervision, including the current housing
assignment of every prisoner in the Jail. .

The designation and use of housing units as “gang pods” must be
phased out under the terms of this Agreement. Placing prisoners
together because of gang affiliation alone is prohibited. The County
must replace current gang-based housing assignments with a more
appropriate objective classification and housing process within one

year after the Effective Date.

g. Develop and implement positive approaches for promoting safety within the

Jail including:

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iv.

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Providing all prisoners with at least 5 hours of outdoor recreation per
week;

Developing rewards and incentives for good behavior such as
additional commissary, activities, or privileges;

Creating work opportunities, including the possibility of paid
employment;

Providing individual or group treatment for prisoners with serious

mental illness, developmental disabilities, or other behavioral or

"medical conditions, who would benefit from therapeutic activities;

Providing education, including special education, for youth, as well as
all programs, supports, and services required for youth by federal law;

Screening prisoners for serious mental illness as part of the Jail’s

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booking and health assessment process, and then providing such
prisoners with appropriate treatment and therapeutic housing;

vii. Providing reasonable opportunities for visitation.

h. Ensure that policies, procedures, and practices provide for higher levels of
supervision for individual prisoners if necessary due to a prisoner’s individual
circumstances. Examples of such higher level supervision include (a)
constant observation (i.e., continuous, uninterrupted one-on-one monitoring)
for actively suicidal prisoners (i.e., prisoners threatening or who recently
engaged in suicidal behavior); (b) higher frequency security checks for
prisoners locked down in maximum security units, medical observation units,
and administrative segregation units; and (c) more frequent staff interaction
with youth as part of their education, treatment and behavioral management
programs.

i. Continue to update, maintain, and expand use of video surveillance and
recording cameras to improve coverage throughout the J ail, including the
booking area, housing units, medical and mental health units, special

management housing, facility perimeters, and in common areas,

43. Include outcome measures as part of the Jail’s internal data collection, management, and
administrative reporting process. The occurrence of any of the following specific outcome
measures creates a rébuttable presumption in this case that the Jail fails to provide reasonably

gafe conditions for prisoners:

a. Staff vacancy rate of more than 10% of budgeted positions;;
b, A voluntary staff turnover rate that results in the failure to staff critical posts
(such as the housing units, booking, and classification) or the failure to

maintain experienced supervisors on all shifis;

c. A major disturbance resulting in the takeover of any housing area by
‘prisoners;

d. Staffing where fewer than 90% of all detention officers have completed basic
jailer training;

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e, Three or more use of force or prisoner-on-prisoner incidents in a fiscal year in
which a prisoner suffers a serious injury, but for which staff members fail to
complete all documentation required by this Agreement, including
supervision recommendations and findings;

f. One prisoner death within a fiscal year, where there is no documented
administrative review by the Jail Administrator or no documented mortality
review by a physician not directly involved in the clinical treatment of the
deceased prisoner (e.g. corporate medical director or outside, contract
physician, when facility medical director may have a personal conflict);

g. One death within a fiscal year, where the death was a result of prisoner-on-
prisoner violence and there was a violation of Jail supervision, housing

assignment, or classification procedures,

44, To complement, but not replace, “direct supervision,” develop and implement policies
and procedures to ensure that detention officers are conducting rounds as appropriate. To that

end:

a, Rounds must be conducted at least once every 30 minutes in general
population housing units and at least once every 15 minutes for special
management prisoners (including prisoners housed in booking cells).

b. All security rounds must be conducted at irregular intervals to reduce their
predictability, and must be documented on forms or logs. .

c. Officers must only be permitted to enter data on these forms or logs at the
time a round is completed. Forms and fogs must not include pre-printed dates
or times. Officers must not be permitted to fill out forms and logs before they
actually conduct their rounds.

d. The parties anticipate that “rounds” will not necessarily be conducted as
otherwise described in this provision when the Jail is operated as a “direct
supervision” facility. This is because a detention officer will have constant,
active supervision of all prisoners in the detention officer’s charge. As
detailed immediately below, however, even under a “direct supervision”

model, the Jail must have a system in place to document and ensure that staff

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are providing adequate supervision,

e, Jail policies, procedures, and practices may utilize more than one means to
document and ensure that staff are supervising prisoners as required by
“direct supervision,” including the use and audit of supervisor inspection
reports, visitation records, mealtime records, inmate worker sheets, medical
treatment files, sick call logs, canteen delivery records, and recreation logs.
Any system adopted to ensure that detention officers are providing “direct
supervision” must be sufficiently detailed and in writing to allow verification

by outside reviewers, including the United States and Monitor.

45. Ensure that all correctional officers receive adequate pre- and post-service training to
provide for reasonably safe conditions in the Jail. To that end, the County must ensure that
the Jail employs Qualified Training Officers, who must help to develop and implement a

formal, written training program. The program must include the following:

a. Mandatory pre-service training, Detention officers must receive State jailer
training and certification prior to start of work. Staff who have not received
such training by the Effective Date of this Agreement must complete their
State jailer training within twelve months after the Effective Date of this
Agreement. During that twelve month period, the County must develop an in-
house detention training academy..

b. Post Order training. Detention officers must receive specific training on unit-
specific post orders before starting work on a unit, and every year thereafter.

To document such training, officers must be required to sign an
acknowledgement that they have received such training, but only after an
officer is first assigned to a unit, after a Post Order is updated, and after
completion of annual retraining. .

c. “Direct supervision” training. Detention officers must receive specific pre-
and post service training on “direct supervision.” Such training must include
instruction on how to supervise prisoners in a “direct supervision” facility,
including instruction in effective communication skills and verbal de-

escalation. Supervisors must receive training on how to monitor and ensure

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that staff are providing effective “direct supervision,”

d, Jail administrator training, High-level Jail supervisors (i.¢., supervisors with
facility-wide management responsibilities), including the Jail Administrator
and his or her immediate deputies (wardens), must receive jail administrator
training prior to the start of their employment. High-level supervisors already
employed at the Jail when this Agreement is executed must complete such
training within six months after the Effective Date of this Agreement.
Training comparable to the Jail Administration curriculum offered by the
National Institute of Corrections will meet the requirements of this provision.

e. Post-service training. Detention officers must receive at least 120 hours per
year of post-service training in their first year of employment and 40 hours
per year after their first year. Such training must include refresher training on
Jail policies. The training may be provided during roll call, staff meetings,
and post-assignment meetings. Post-service training should also include field
and scenario-based training.

f. Training for Critical Posts. Jail management must work with the taining
department to develop a training syllabus and minimum additional training
requirements for any officer serving in a critica! position. Such additional
training must be provided for any officer working on a tactical team; in a
special management, medical or mental health unit; in a maximum security
unit; or in booking and release.

g, Special management unit training. Officers assigned to special management
units must receive at least eight hours of specialized training cach year
regarding supervision of such units and related prisoner safety, medical,
mental health, and security policies. a

h. Training on all Jail policies and procedures including those regarding prisoner

rights and the prevention of staff abuse and misconduct.

46, Develop and implement policies and procedures for adequate supervisory oversight for

the Jail. To that end, the County must:

a. Review and modify policies, procedures, and practices to ensure that the Jail

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Administrator has the authority to make personnel decisions necessary to
ensure adequate staffing, staff discipline, and staff oversight. This personnel
authority must include the power to hire, transfer, and discipline staff.
Personal Identification Numbers (PINs) allocated for budget purposes
represent a salaried slot and are not a restriction on personnel assignment

_ authority. While the Sheriff may retain final authority for personnel
decisions, the Jail’s policies and procedures must document and clearly
identify who is responsible for a personnel decision, what administrative
procedures apply, and the basis for personnel decisions.

b, Review and modify policies, procedures, and practices to ensure that the Jail
Administrator has the ability to monitor, ensure compliance with Jail policies,
and take corrective action, for any staff members operating in the Jail,
including any who are not already reporting to the Jail Administrator and the
Jail’s chain of command. This provision covers road deputies assigned to
supervise housing units and emergency response/tactical teams entering the
Jail to conduct random shakedowns or to suppress prisoner disturbances.

C. Ensure that supervisors conduct daily rounds on each shift in the prisoner
housing units, and document the results of their rounds.

d. Ensure that staff conduct daily inspections of all housing and common areas
to identify damage to the physical plant, safety violations, and sanitation

issues. This maintenance program must include the following elements:

i. Facility safety inspections that include identification of damaged
doors, locks, cameras, and safety equipment.

il. An inspection process.

iii. A schedule for the routine inspection, repair, and replacement of the
physical plant, including security and safety equipment.

iv. A requirement that any corrective action ordered be taken.

v. Identification of high priority repairs to assist Jail and County officials
with allocating staff and resources. .

Vi. To ensure prompt corrective action, a mechanism for identifying and

notifying responsible staff and supervisors when there are significant

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delays with repairs or a pattern of problems with equipment. Staff
response to physical plant, safety, and sanitation problems must be

reasonable and prompt.

47, Ensure that staff members conduct random shakedowns of cells and common areas so
that prisoners do not possess or have access to dangerous contraband, Such shakedowns must
be conducted in each housing wnit at least once per month, on an irregular schedule to make

them less predictable to prisoners and staff.

48. Install cell phone jammers or other electronic equipment to detect, suppress, and deter
unauthorized communications from prisoners in the Jail. Installation must be completed

within two years after the Effective Date.

49. Develop and implement a gang program in consultation with qualified experts in the field
that addresses any link between gang activity in the community and the Jail through
appropriate provisions for education, family or community involvement, and violence

prevention.
B. USE OF FORCE STANDARDS

Consistent with constitutional standards, the County must take reasonable measures to
prevent excessive force by staff and ensure force is used safely and only in a manner

commensurate with the behavior justifying it. To that end, the County must:

50. Develop and implement policies and procedures to regulate the use of force. The policies

and procedures must:

a. Prohibit the use of force as a response to verbal insults or prisoner threats
where there is no immediate threat to the safety or security of the institution,
prisoners, staff or visitors; .

b. Prohibit the use of force as a response to prisoners’ failure to follow
instructions where there is no immediate threat to the safety or security of the
institution, prisoners, staff, visitors, or property;

c, Prohibit the use of force against a prisoner after the prisoner has ceased to

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resist and is under control;

d, Prohibit the use of force as punishment or retaliation;

€. Limit the level of force used so that it is commensurate with the justification
for use of force; and

f. Limit use of force in favor of less violent methods when such methods are
more appropriate, effective, or less likely to result in the escalation of an

incident.

51. Develop and implement policies and procedures to ensure timely notification,
documentation, and communication with supervisors and medical staff (including mental
health staff) prior to use of force and after any use of force. These policies and procedures

must specifically include the following requirements:

a. Staff members must obtain prior supervisory approval before the use of
weapons (e.g., electronic control devices or chemical sprays) and mechanical
restraints unless responding to an immediate threat to a person’s safety.

b. If a prisoner has a serious medical condition or other circumstances exist that
may increase the risk of death or serious injury from the use of force, the type
of force that may be used on the prisoner must be restricted to comply with

this provision. These restrictions include the following:

i. The use of chemical sprays, physical restraints, and electronic control
devices must not be used when a prisoner may be at risk of positional
asphyxia.

i. Electronic control devices must not be used on prisoners when they are
in a location where they may suffer serious injury after losing
voluntary muscle control (¢.g., prisoner is standing atop a stairwell,
wall, or other elevated location).

iii. Physical strikes, holds, or other uses of force or restraints may not be
used if the technique is not approved for use in the Jail or the staff

member has not been trained on the proper use of the technique.

C. Staff members must conduct health and welfare checks every 15 minutes

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while a prisoner is in restraints. At minimum, these checks must include (i)
logged first-person observations of a prisoner’s status while in restraints (e.g.
check for blood flow, respiration, heart beat), and Gi) documented breaks to
meet the sanitary and health needs of prisoners placed in emergency restraints
(e.g., restroom breaks and breaks to prevent cramping or circulation
problems),

d. The County must ensure that clinical staff conduct medical and mental health
assessments immediately after a prisoner is subjected to any Level | use of
force. Prisoners identified as requiring medical or mental health care during
the assessment must receive such treatment,

e. A first-line supervisor must personally supervise all planned uses of force,
such as cell extractions.

f. Security staff members must consult with medical and mental health staff
before all planned uses of force on juveniles or prisoners with serious mental
illness, so that medical and mental health staff may offer alternatives to or
limitations on the use of force, such as assisting with de-escalation or
obtaining the prisoner’s voluntary cooperation.

g. The Jail must have inventory and weapon controls to establish staff member
responsibility for their use of weapons or other security devices in the facility.

Such controls must include:

i. a sign-out process for staff members to carry any type of weapon
inside the Jail,

ii. a prohibition on staff carrying any weapons except those in the Jail’s
tracked inventory, and

iil, random checks to determine if weapons have been discharged without
report of discharge (e.g., by checking the internal memory of

electronic control devices and weighing pepper spray canisters).

h. A staff member must electronically record (both video and sound) all planned
uses of force with equipment provided by the Jail.

i. All staff members using force must immediately notify their supervisor.

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j: All staff members using a Level 1 use of force must also immediately notify
the shift commander after such use of force, or becoming aware of an

allegation of such use by another staff member.
Cc, USE OF FORCE TRAINING

52. The County must develop and implement a use of force training program. Every staff
member who supervises prisoners must receive at least 8 hours of pre-service use of force

- training and annual use of force refresher training.

53. Topics covered by use of force training must include:

a. Instruction on what constitutes excessive force;

b. De-escalation tactics;

Cc. Methods of managing prisoners with mental illness to avoid the use of force;
d. Defensive tactics;

e. All Jail use of force policies and procedures, including those related to

documentation and review of use of force.

54. The County must randomly test at least 5 percent of Jail Staff members annually to
determine whether they have a meaningful, working knowledge of all use of force policies
and procedures. The County must also evaluate the results to determine if any changes to Jail
policies and procedures may be necessary and take corrective action. The results and

recommendations of such evaluations must be provided to the United States and Monitor,

55. The County must update any use of force training within 30 days after any revision to a

use of force policy or procedure.
D. USE OF FORCE REPORTING

To prevent and remedy the unconstitutional use of force, the County must develop and

implement a system for reporting use of force. To that end, the County must:

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56. Develop and implement use of force reporting policies and procedures that ensure that
Jail supervisors have sufficient information to analyze and respond appropriately to use of

force.

57. Require each staff member who used or observed a use of force to complete a Use of
Force Report as promptly as possible, and no later than by the end of that staff member’s shift,
Staff members must accurately complete all fields on a Use of Force Report. The failure to
report any use of force must be treated as a disciplinary infraction, subject to re-training and
staff discipline, including termination. Similarly, supervisors must also comply with their
documentation obligations and will be subject to re-training and discipline for failing to

comply with those obligations.

58. Ensure that Jail use of force reports include an accurate and detailed account of the

events. At minimum, use of force reports must document the following information:

A unique tracking number for each use of force;

b. The names of all staff members, prisoner(s), and other participants or
witnesses;

Housing classification and location;

d. Date and time;

e, A description of the events leading to the use of force, including what
precipitated or appeared to precipitate those events.

f. A description of the level of resistance, staff response, and the type and level
of force (including frequency and duration of use). For instance, use of force
reports must describe the number of discharges from electronic control
devices and chemical munitions canisters; the amount of discharge from
chemical munitions canisters; whether the Staff Member threatened to use the
device or actually discharged the device; the type of physical hold or strike
used; and the length of time a prisoner was restrained, and whether the
prisoner was released from restraints for any period during that time;

g. A description of the staff member’s attempts to de-escalate the situation

without use of force;

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h. A description of whether the staff member notified supervisors or other

personnel, including medical or mental health staff, before or after the use of

force;
i. A description of any observed injuries to staff or prisoners;
j. Whether medical care was required or provided to staff or prisoners;
k. Reference to any associated incident report or prisoner disciplinary report

completed by the reporting officer, which pertains to the events or prisoner
activity that prompted the use of force;
i, A signature of the staff member completing the report attesting to the report’s

accuracy and completeness.
E. USE OF FORCE SUPERVISOR REVIEWS

59, The County must ensure that Jail supervisors review, analyze, and respond appropriately

to use of force. At minimum:

a. A supervisor must review all use of force reports submitted during the
supervisor’s watch by the end of the supervisor’s watch.

b. A supervisor must ensure that staff members complete their use of force
reports by the end of their watch.

c, Reviewing supetvisors must document their findings as to the completeness
of each staff member’s use of force report, and must also document any
procedural errors made by staff in completing their reports.

d. If a Use of Force report is incomplete, reviewing supervisors must require
Staff Members to provide any required information on a revised use of force
report, and the Jail must maintain both the original and any revised report in
its records.

€. Any supervisor responsible for reviewing use of force reports must document
their use of force review as described in Paragraph 62 sufficiently to allow
auditing to determine whether an appropriate review was conducted.

f. All Level 1 uses of force must be sent to the shift commander, warden, Jail

Administrator, and IAD.

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g. A Level 2 use of force must be referred to the shift commander, warden, Jail
Administrator, and IAD if a reviewing supervisor concludes that there may
have been a violation of law or policy. Level 2 uses of force may also be
referred to JAD if the County requires such reporting as a matter of Jail policy

and procedure, or at the discretion of any reviewing supervisor.

60. After any Level 1 use of force, responding supervisors will promptly go to the scene and

take the following actions:

Ensure the safety of everyone involved in or proximate to the incident.

b, Determine if anyone is injured and ensure that necessary medical care is ot
has been provided,

c. Ensure that photos are taken of all injuries sustained, or as evidence that no
injuries were sustained, by prisoners and staff involved in a use of force
incident. Photos must be taken no later than two hours after a use of force.
Prisoners may refuse to consent to photos, in which case they should be
asked to sign a waiver indicating that they have refused consent. If they
refuse to sign a waiver, the shift commander must document that consent was
requested and refused.

d. Ensure that staff members and witnesses are identified, separated, and advised
that communications with other staff members or witnesses regarding the
incident are prohibited.

e. Ensure that victim, staff, and witness statements are taken confidentially by
reviewing supervisors or investigators, outside of the presence of other
prisoners or involved staff.

f. Document whether the use of force was recorded. If the use of force was not
recorded, the responding supervisors must review and explain why the event
was not recorded. If the use of force was recorded, the responding

supervisors must ensure that any record is preserved for review.

61. All uses of force must be reviewed by supervisors who were neither involved in nor

approved the use of force by the end of the supervisor’s shift, All level 1 uses of force must

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also be reviewed by a supervisor of Captain rank or above who was neither involved in nor
approved the use of force. The purposes of supervisor review are to determine whether the
use of force violated Jail policies and procedures, whether the prisoner’s rights may have been

violated, and whether further investigation or disciplinary action is required.
62. Reviewing supervisors must document the following:

a. Names of all staff members, prisoner(s), and other participants or witnesses

interviewed by the supervisor;

>

Witness statements;

Review date and time;

a 8

The findings, recommendations, and results of the supervisor’s review;
€. Corrective actions taken;

The final disposition of the reviews (e.g., whether the Use of Force was found

mh

to comply with Jail policies and procedures, or whether disciplinary action
was taken against a staff member);

g. Supporting documents such as incident reports, logs, and classification
records, Supervisors must also obtain and review summary medical and

mental health records describing -

i. The nature and extent of injuries, or lack thereof;

ii. The date and time when medical care was requested and actually
provided;

iii. | The names of medical or mental health staff conducting any medical or

‘mental health assessments or care.

h. Photos, video/digital recordings, or other evidence collected to support

findings and recommendations.

F. INCIDENT REPORTING AND REVIEW

To prevent and remedy violations of prisoners’ constitutional rights, the County must
develop and implement a system for reporting and reviewing incidents in the Jail that may pose a

threat to the life, health, and safety of prisoners. To that end, the County must:

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63. Develop and implement incident reporting policies and procedures that ensure that Jail

supervisors have sufficient information in order to respond appropriately to reportable

incidents,

64. Ensure that Incident Reports include an accurate and detailed account of the events. At

minimum, Incident Reports must contain the following information:

k.

1.

Tracking number for each incident;

The names of all staff members, prisoner, and other participants or witnesses,
Housing classification and location;

Date and time;

Type of incident;

Injuries to staff or prisoner;

Medical care:

All staff involved or present during the incident and their respective roles;
Reviewing supervisor and supervisor findings, recommendations, and case
dispositions;

External reviews and results;

Corrective action taken; and

Warden and Administrator review and final administrative actions.

65. Require cach staff member directly involved in a reportable incident to accurately and

thoroughly complete incident reports as promptly as possible, by the end of the staff

member’s shift, At minimum:

Staff members must complete all fields on an Incident Report for which they
have responsibility for completion. Staff members must not omit entering a
date, time, incident location, or signature when completing an incident
Report. If no injuries are present, staff members must write that; they may
not leave that section blank.

Failure to report any reportable incident must be treated as a disciplinary
infraction, subject to re-training and staff discipline, including termination.

Supervisors must also comply with their documentation obligations and will

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also be subject to re-training and discipline for failing to comply with those

obligations.

66. Ensure that Jail supervisors review and respond appropriately to incidents. ‘At minimum:

a.

G.

Shift commanders must document all reportable incidents by the end of their
shift, but no later than 12 hours after a reportable incident.

Shift commanders must report all suicides, suicide attempts, and deaths, no
later than one hour after the incident, to a supervisor, IAD, and medical and |
mental health staff.

Any supervisor responsible for reviewing Incident Reports must document
their incident review within 24 hours of receipt of an Incident Report
sufficiently to allow auditing to determine whether an appropriate review was
conducted. Such documentation must include the same categories of
information required for supervisor use of force reviews such as names of
individuals interviewed by the supervisor, witness statements, associated
records (e.g, medical records, photos, and digital recordings), review dates,
findings, recommendations, and case dispositions.

Reportable incidents must be reviewed by a supervisor not directly involved

in the incident.

SEXUAL MISCONDUCT

67. To prevent and remedy violations of prisoners’ constitutional rights, the County must

develop and implement policies and procedures to address sexual abuse and misconduct,

Such policies and procedures must include all of the following:

Zero tolerance policy towards any sexual abuse and sexual harassment as
defined by the Prison Rape Elimination Act of 2003, 42 U.S.C. § 15601, et
seq., and its implementing regulations,

Staff training on the zero tolerance policy, including how to fulfill their duties
and responsibilities to prevent, detect, report and respond to sexual abuse and

sexual harassment under the policy;

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h,

H.

Screening prisoners to identify those who may be sexually abusive or at risk
of sexual victimization; .

Multiple internal ways to allow both confidential and anonymous reporting of
sexual abuse and sexual harassment and any related retaliation, including a
mechanism for prisoners to directly report allegations to an outside entity;
Both emergency and ongoing medical and mental health care for victims of
sexual assault and sexual harassment, including rape kits as appropriate and
counseling; . eS

A complete ban on cross-gender strip searches or cross-gender visual body
cavity searches except in exigent circumstances or when performed by a
medical examiner;

A complete ban on cross-gender pat searches of women prisoners, absent
exigent circumstances;

Regular supervisory review to ensure compliance with the sexual abuse and
sexual harassment policies; and

Specialized investigative procedures and training for investigators handling

sexual abuse and sexual harassment allegations.

INVESTIGATIONS

68. The County shall ensure that it has sufficient staff to identify, investigate, and correct

misconduct that has or may lead to a violation of the Constitution. At a minimum, the County

shall:

Develop and implement comprehensive policies, procedures, and practices for
the thorough and timely (within 60 days of referral) investigation of alleged
staff misconduct, sexual assaults, and physical assaults of prisoners resulting
in serious injury, in accordance with this Agreement, within 90 days of its

Effective Date. At a minimum, an investigation will be conducted if.

i. Any prisoner exhibited a serious injury;
ii, Any staff member requested transport of the prisoner to the hospital;
ili. Staff member reports indicate inconsistent, conflicting, or suspicious

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iv.

accounts of the incident; or
Alleged staff misconduct would constitute a violation of law or Jail
policy, or otherwise endangers facility or prisoner safety (including

inappropriate personal relationships between a staff member and

_ prisoner, or the smuggling of contraband by a staff member).

b. Per policy, investigations shall:

ti.

ili.

Be conducted by qualified persons, who do not have conflicts of
interest that bear on the partiality of the investigation;

Include timely, thorough, and documented interviews of all relevant
staff and prisoners who were involved in or who witnessed the incident
in question, to the extent practicable; and

Include all supporting evidence, including logs, witness and participant
statements, teferences to policies and procedures relevant to the

incident, physical evidence, and video or audio recordings.

c. Provide investigators with pre-service and annual in-service training so that

investigators conduct quality investigations that meet the requirements of this

Agreement;

d. Ensure that any investigative report indicating possible criminal behavior will

be referred to the appropriate criminal law enforcement agency;

&. Within 90 days of the Effective Date of this Agreement, JAD must have

written policies and procedures that include clear and specific criteria for

determining when it will conduct an investigation. The criteria will require

an investigation if

ili.

iv,

Any prisoner exhibited serious, visible injuries (e.g., black eye,
obvious bleeding, or lost tooth);

Any staff member requested transport of the prisoner to the hospital;
Staff member reports indicate inconsistent, conflicting, or suspicious
accounts of the incident; or

Alleged staff misconduct would constitute a violation of law or Jail

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policy, or otherwise endangers facility or prisoner safety (including
inappropriate personal relationships between a staff member and

prisoner, or the smuggling of contraband by a staff member).

f. Provide the Monitor and United States a periodic report of investigations

conducted at the Jail every four months. The report will include the following

information:

i. a brief summary of all completed investigations, by type and date;
ii. a listing of investigations referred for administrative investigation;
iil. a listing of all investigations referred to an appropriate law

enforcement agency and the name of the agency; and

iv. a listing of all staff suspended, terminated, arrested or reassigned
because of misconduct or violations of policy and procedures. This
list must also contain the specific misconduct and/or violation.

Vv. a description of any corrective actions or changes in policies,
procedures, or practices made as a result of investigations over the

reporting period.

g. Jail management shall review the periodic report to determine whether the
investigation system is meeting the requirements of this Agreement and make
recommendations regarding the investigation system or other necessary
changes in policy based on this review. The review and recommendations

"will be documented and provided to the Monitor and United States.
I. GRIEVANCE AND PRISONER INFORMATION SYSTEMS

Because a reporting system provides early notice of potential constitutional violations
and an opportunity to prevent more serious problems before they occur, the County must develop

and implement a grievance system. To that end:

69, The grievance system must permit prisoners to confidentially report grievances without

requiring the intervention of a detention officer.

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70, Grievance policies and procedures must be applicable and standardized across the entire
Jail.

71. All grievances must receive appropriate follow-up, including a timely written response by
an impartial reviewer and staff tracking of whether resolutions have been implemented or stil
need implementation. Any response to a medical grievance or a grievance alleging threats or

violence to the grievant or others that exceeds 24 hours shall be presumed untimely.

72. The grievance system must accommodate prisoners who have physical or cognitive
disabilities, are illiterate, or have LEP, so that these prisoners have meaningful access to the

grievance system.

73, The County must ensure that all current and newly admitted prisoners receive
information about prison rules and procedures. The County must provide such information
through-an inmate handbook and, at the discretion of the Jail, an orientation video, regarding
the following topics: understanding the Jail’s disciplinary process and rules and regulations;
reporting misconduct; reporting sexual abuse, battery, and assault; accessing medical and
mental health care; emergency procedures; visitation; accessing the grievance process; and
prisoner rights. The County must provide such information in appropriate languages for

prisoners with LEP.
J.. RESTRICTIONS ON THE USE OF SEGREGATION

In order to ensure compliance with constitutional standards and to prevent unnecessary
harm to prisoners, the County must develop and implement policies and procedures to limit the
use of segregation. To that end, this Agreement imposes the following restrictions and

requirements:

74. Within 8 hours of intake, prisoners in the booking cells must be classified and housed in
more appropriate long-term housing where staff will provide access to exercise, meals, and .

other services.

75, The County must document the placement and removal of all prisoners to and from

segregation,

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76. Qualified Mental Health Professionals must conduct mental health rounds at least once a
week (in a private setting if necessary to elicit accurate information), to assess the mental
health status of all prisoners in segregation and the effect of segregation on each prisoner’s
mental health, in order to determine whether continued placement in segregation is

appropriate. These mental health rounds must not be a substitute for treatment.

77. The County must develop and implement restrictions on the segregation of prisoners with

serious mental illness. These safeguards must include the following:

a. All decisions to place a prisoner with serious mental illness in segregation
must include the input of a Qualified Mental Health Professional who has
conducted a face-to-face evaluation of the prisoner in a confidential setting, is
familiar with the details of the available clinical history, and has considered
the prisoner’s mental health needs and history.

b. Segregation must be presumed contraindicated for prisoners with serious

mental illness.

c. Within 24 hours of placement in segregation, all prisoners on the mental
health caseload must be screened by a Qualified Mental Health Professional
to determine whether the prisoner has serious mental illness, and whether
there are any acute mental health contraindications to segregation.

d. If a Qualified Mental Health Professional finds that a prisoner has a serious
mental iHness or exhibits other acute mental health contraindications to
segregation, that prisoner must not be placed or remain in segregation absent
documented extraordinary and exceptional circumstances (1.c. for an
immediate and serious danger which may arise during unusual emergency
situations, such as a riot or during the booking of a severely psychotic,
untreated, violent prisoner, and which should last only as long as the
emergency conditions remain present).

e. Documentation of such extraordinary and exceptional circumstances must be
in writing. Such documentation must include the reasons for the decision, a
comprehensive interdisciplinary team review, and the names and dated

signatures of all staff members approving the decision.

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f, Prisoners with serious mental illness who are placed in segregation must be

offered a heightened level of care that includes the following:

i. If on medication, the prisoner must receive at least one daily visit from
a Qualified Medical Professional.

iL. The prisoner must be offered a face-to-face, therapeutic, out-of-cell
session with a Qualified Mental Health Professional at least once per
week.

iii. If the prisoner is placed in segregation for more than 24 hours, he or
she must have his or her case reviewed by a Qualified Mentai Health
Professional, in conjunction with a Jail physician and psychiatrist, on a

weekly basis.

£. Within 30 days of the Effective Date of this Agreement, A Qualified Mental
Health Professional will assess all prisoners with serious mental illness
housed in long-term segregation. This assessment must include a documented
evaluation and recommendation regarding appropriate (more integrated and
therapeutic) housing for the prisoner. Prisoners requiting follow-up for
additional clinical assessment or care must promptly receive such assessment
and care. .

h, If a prisoner on segregation decompensates or otherwise develops signs or
symptoms of serious mental illness, where such signs or symptoms had not
previously been identified, the prisoner must immediately be referred for
appropriate assessment and treatment by a Qualified Mental Health
Professional. Any such referral must also result in a documented evaluation
and recommendation regarding appropriate (more integrated and therapeutic)
housing for the prisoner. Signs or symptoms requiring assessment or
treatment under this clause include a deterioration in cognitive, physical, or
verbal function; delusions; self-harm; or behavior indicating a heightened risk
of suicide (c.g., indications of depression after a sentencing hearing).

i, The treatment and housing of prisoners with serious mental illness must be

coordinated and overseen by the Interdisciplinary Team (or Teams), and

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guided by formal, written treatment plans. The Interdisciplinary Team must
include both medical and security staff, but access to patient healthcare
information must remain subject to legal restrictions based on patient privacy
rights. The intent of this provision is to have an Interdisciplinary Team serve
as a mechanism for balancing security and medical concerns, ensuring
cooperation between security and medical staff, while also protecting the
exercise of independent medical judgment and each prisoner’s individual
rights. . .

j. Nothing in this Agreement should be interpreted to authorize security staff,
including the Jail Administrator, to make medical or mental heaith treatment

decisions, or to overrule physician medical orders.
K. YOUTHFUL PRISONERS

As long as the County houses youthful prisoners, it must develop and implement policies
and procedures for their supervision, management, education, and treatment consistent with
federal law, including the Individuals with Disabilities Education Act, 20 U.S.C. §§ 1400-1482,
Within six months of the Effective Date of this Agreement, the County will determine where it
will house youthful prisoners. During those six months, the County will consult with the United
States, the monitor of the Henley Young Juvenile Detention Center consent decree, and any other
individuals or entities whose input is relevant. The United States will support the County’s
efforts to secure appropriate housing for youthful prisoners, including supervised release, Within
18 months after the Effective Date of this Agreement, the County will have completed
transitioning to any new or replacement youthful prisoner housing facility. For any youthful ~

prisoners in its custody, the County must:

78. Develop and implement a screening, assessment and treatment program to ensure that
youth with serious mental illness and disabilities, including developmental disabilities, receive

appropriate programs, supports, education, and services.

79. Ensure that youth receive adequate free appropriate education, including special

education,

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80. Ensure that youth are properly separated by sight and sound from adult prisoners.

81. Ensure that the Jail’s classification and housing assignment system does not merely place
all youth in the same housing unit, without adequate separation based on classification
standards, Instead, the system must take into account classification factors that differ even
within the youth sub-class of prisoners. These factors include differences in age,

dangerousness, likelihood of victimization, and sex/gender.

89. Train staff members assigned to.supervise youth on the Jail’s youth-specific policies and
procedures, as well as on age-appropriate supervision and treatment strategies. The County
must ensure that such specialized training includes training on the supervision and treatment -
of youth, child and adolescent development, behavioral management, crisis intervention,
conflict management, child abuse, juvenile rights, the juvenile justice system, youth suicide
prevention and mental health, behavioral observation and reporting, gang intervention, and

de-escalation.

83. Specifically prohibit the use of segregation as a disciplinary sanction for youth.
Segregation may be used on a youth only when the individual’s behavior threatens imminent
harm to the youth or others. This provision is in addition to, and not a substitute, for the

- provisions of this Agreement that apply to the use of segregation in general. In addition:

a. Prior to using segregation, staff members must utilize less restrictive
techniques such as verbal de-escalation and individual counseling, by
qualified mental health or other staff trained on the management of youth.

b. Prior to placing a youth in segregation, or immediately thereafter, a staff
member must explain to the youth the reasons for the segregation, and the fact
that the youth will be released upon regaining self-control.

c. Youth may be placed in segregation only for the amount of time necessary for
the individual to regain self-control and no longer pose an immediate threat,
As soon as the youth’s behavior no longer threatens imminent harm to the
youth or others, the County must release the individual back to their regular
detention location, school or other programming.

d. if a youth is placed in segregation, the County must immediately provide one-

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on-one crisis intervention and observation.

e. The County must specifically document and record the use of segregation on
youth as part of its incident reporting and quality assurance systems,

f, A Qualified Medical Professional, or staff member who has completed all
training required for supervising youth, must directly monitor any youth in
segregation at least every fifteen (15) minutes. Such observation must be
documented immediately after each check.

g. Youth may not be held in segregation for a continuous period longer than one
(1) hour during waking hours. If staff members conclude that a youth is not
sufficiently calm to allow a break in segregation after one hour, they must
contact a Qualified Mental Health Professional. The Qualified Mental Health
Professional must assess the youth and determine whether the youth requires
treatment or services not available in the Jail. If the youth requires mental

_ health services that are not provided by the Jail, the Qualified Mental Health
Provider must immediately notify the Jail Administrator and promptly arrange
for hospitalization or other treatment services. .

h. If a youth is held in segregation for a continuous period longer than two (2)
hours, Staff Members must notify the Jail Administrator.

i. Any notifications or assessments required by this paragraph must be

documented in the youth’s individual record.

84, Develop and implement a behavioral treatment program appropriate for youth. This
program must be developed with the assistance of a qualified consultant whe has at least five
years of experience developing behavioral programs for institutionalized youth. The Jail’s

behavioral program must include all of the following elements:

a. The behavioral program must include positive incentives for changing youth
behavior, outline prohibited behaviors, and describe the consequences for
prohibited behaviors.

b. An individualized program must be developed by a youth’s interdisciplinary

treatment team, and properly documented in each youth’s personal file.

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Documentation requirements must include the collection of data required for
proper assessment and treatment of youth with behavioral issues. For
instance, the County must track the frequency and duration of positive
incentives, segregation, and targeted behaviors.

c. The program must include safeguards and prohibitions on the inappropriate

use of restraints, segregation, and corporal punishment.
L. LAWFUL BASIS FOR DETENTION

Consistent with constitutional standards, the County must develop and implement
policies and procedures to ensure that prisoners are processed through the criminal justice system

in a manner that respects their liberty interests. To that end:

85, The County will not accept or continue to house prisoners in the Jail without appropriate,
completed paperwork such as an affidavit, arrest warrant, detention hold, or judge’s written
detention order. Examples of inadequate paperwork include, but are not limited to undated or
unsigned court orders, warrants, and affidavits; documents memorializing oral instructions
from court officers that are undated, unsigned, or otherwise fail to identify responsible
individuals and the legal basis for continued detention or release; incomplete arresting police
officer documents; and any other paperwork that does not establish a lawful basis for

detention.

86. No person shall! be incarcerated in the Jail for failure to pay fines or fees in contravention
of the protections of the United States Constitution as set forth and discussed in Bearden v.
Georgia, 461 U.S. 660 (1983) and Cassibry v, State, 453 So.2d 1298 (Miss. 1984), The

County must develop and implement policies consistent with the applicable federal law and

the terms of this Agreement.

87. No person shall be incarcerated in the Jail for failure to pay fines or fees absent (a)
documentation demonstrating that a meaningful analysis of that person’s ability to pay was
conducted by the sentencing court prior to the imposition of any sentence, and (b) written
findings by the sentencing court setting forth the basis for a finding that the failure to pay the

subject fines or fees was willful. At a minimum, the County must confirm receipt from the

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sentencing court of a signed “Order” issued by the sentencing court setting forth in detail the

basis for a finding that the failure to pay fines or fees was willful.

88. Ifthe documentation described in paragraph 87 is not provided within 24 hours of
incarceration of a person for failure to pay fines or fees, Jail staff must promptly notify Jail
administrators, Court officials, and any other appropriate individuals to ensure that adequate
documentation exists and must obtain a copy to justify continued detention of the prisoner.
After 48 hours, that prisoner must be released prompily if the Jail staff cannot obtain the
necessary documentation to verify that the failure to pay fines or fees was willful, and that

person is incarcerated only for the failure to pay fines or fees.

89. If the documentation described in paragraph 87 is not provided within 24 hours of
incarceration of a prisoner for failure to pay fines or fees, and if that person is incarcerated for
other conviction(s) or charge(s), other than the failure to pay fines and/or fees, Jail staff must
promptly notify Jail administrators, Court officials, and other appropriate individuals to ensure
that adequate documentation exists and to ascertain the prisoner’s length of sentence. If Jail
staff cannot obtain a copy of the necessary documentation within 48 hours of the prisoner’s
incarceration, Jail staff must promptly arrange for the prisoner’s transport to the sentencing
court so that the court may conduct a legally sufficient hearing and provide any required
documentation, including the fines or fees owed by the prisoner, and an assessment of the |

prisoner’s ability to pay and willfulness (or lack thereof) in failing to pay fines or fees.

90, Jail staff must maintain the records necessary to determine the amount of lime a person
must serve to pay off any properly ordered fines or fees. To the extent that a sentencing court
does not specifically calculate the term of imprisonment to be served, the Jail must obtain the
necessary information within 24 hours of a prisoner’s incarceration, Within 48 hours of
incarceration, each prisoner shall be provided with documentation setting forth clearly the

term of imprisonment and the calculation used to determine the term of imprisonment.

91. No pre-trial detainee or sentenced prisoner incarcerated by the County solely for failure
to pay fines or fees shall be required to perform physical labor. Nor shall any such detainee or
prisoner receive any penalty or other adverse consequence for failing to perform such labor,

including differential credit toward sentences. Any physical labor by pre-trial detainees or by

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prisoners incarcerated solely for failure to pay fines or fees shall be performed on a voluntary
basis only, and the County shall not in any way coerce such pre-trial detainees or prisoners to

perform physical labor.

92, The County must ensure that the Jail timely releases from custody all individuals entitled

to release. At mininvum:

a. Prisoners are entitled to release if there is no legai basis for their continued
detention. Such release must occur no later than 11:59 PM on the day that a
prisoner is entitled to be released. .

b. Prisoners must be presumed entitled to release from detention if there is a
court order that specifies an applicable release date, or Jail records document

no reasonable legal basis for the continued detention of a prisoner.

c. Examples of prisoners presumptively entitled to release include:
1, Individuals who have completed their sentences;
il. Individuals who have been acquitted of all charges after trial,
iii. Individuals whose charges have been dismissed;
iv. Individuals who are ordered released by a court order; and
Vv. Individuals detained by a law enforcement agency that then fails to

promptly provide constitutionally adequate, documented justification

for an individual’s continued detention.

93. The County must develop and implement a reliable, complete, and adequate prisoner
records system to ensure that staff members can readily determine the basis for a prisoner’s
detention, when a prisoner may need to be released, and whether a prisoner should remain in
detention. The records system must provide Jail staff with reasonable advance notice prior to
an anticipated release date so that they can contact appropriate agencies to determine whether

a prisoner should be released or remain in detention.

94, Jail record systems must accurately identify and track all prisoners with serious mental
illness, including their housing assignment and security incident histories. Jail staff must

develop and use records about prisoners with serious mental illness to more accurately and

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efficiently process prisoners requiring forensic evaluations or transport to mental hospitals or
other treatment facilities, and to improve individual treatment, supervision, and community
transition planning for prisoners with serious mental illness. Records about prisoners with
serious mental illness must be incorporated into the Jail’s incident reporting, investigations,
and medical quality assurance systems. The County must provide an accurate census of the

J ail’s mental health population as part of its compliance reporting obligations, and the County

inust address this data when assessing staffing, program, or resource needs.

95, All individuals who (i) were found not guilty, were acquitted, or had charges brought
against them dismissed, and (ii) are not being held on any other matter, must be released

directly from the court unless the court directs otherwise. Additionally:

a. Such individuals must not be handcuffed, shackled, chained with other
prisoners, transported back to the Jail, forced to submit to bodily strip
searches, or returned to general population or any other secure Jail housing
area containing prisoners. ,

b. Notwithstanding (a), above, individuals may request to be transported back to
the Jail solely for the purpose of routine processing for release. If the County
decides to allow such transport, the County must ensure that J ail policies and

procedures govern the process. At minimum, policies and procedures must

prohibit staff from:
i. Requiring the individual to submit to bodily strip searches;
ii. Requiring the individual to change into Jail clothing if the individual is

not already in such clothing; and
iii, | Returning the individual to general population or any other secure J ail

housing area containing prisoners.

96. The County must develop, implement, and maintain policies and procedures to govern

the release of prisoners. These policies and procedures must:

a, Describe all documents and records that must be collected and maintained in

Jail files for determining the basis of a prisoner’s detention, the prisoner’s

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anticipated release date, and their status in the criminal justice system.

b. Specifically detail procedures to ensure timely release of prisoners entitled to
be released, and procedures to prevent accidental release.

Cc. Be developed in consultation with court administrators, the District
Attorney’s Office, and representatives of the defense bar.

d. Include mechanisms for notifying community mental health providers,
including the County’s Program of Assertive Community Treatment
(“PACT”) team, when releasing a prisoner with serious mental illness so that
the prisoner can transition safely back to the community. These mechanisms
must include providing such prisoners with appointment information and a
supply of their prescribed medications to bridge the time period from release
until their appointment with the County PACT team, or other community

provider.

97, The County must develop, implement, and maintain appropriate post orders relating to

the timely release of individuals. Any post orders must:

a. Contain up-to-date contact information for court liaisons, the District
Attorney’s Office, and the Public Defender’s Office;

b. Describe a process for obtaining higher level supervisor assistance in the
event the officer responsible for processing releases encounters
administrative difficulties in determining a prisoner’s release eligibility or
needs urgent assistance in reaching officials from other agencies who have

information relevant to a prisoner’s release status.

98. Nothing in this Agreement precludes appropriate verification of a prisoner’s eligibility
for release, including checks for detention holds by outside law enforcement agencies and
procedures to confirm the authenticity of release orders. Before releasing a prisoner entitled
to release, but no later than the day release is ordered, Jail staff should check the National
Crime Information Center or other law enforcement databases to determine if there may bea
basis for continued detention of the prisoner. The results of release verification checks must

be fully documented in prisoner records.

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99. The County must ensure that the release process is adequately staffed by qualified

detention officers and supervisors. To that end, the County must:

a. Ensure that sufficient qualified staff members, with access to prisoner records
and to the Jail’s e-mail account for receiving court orders, are available to
receive and effectuate court release orders twenty-four hours a day, seven
days a week,

b, Ensure that staff members responsible for the prisoner release process and
related records have the knowledge, skills, training, experience, and abilities
to implement the Jail’s release policies and procedures. At minimum, the
County must provide relevant staff members with specific pre-service and
annual in-service training related to prisoner records, the criminal justice
process, legal terms, and release procedures. The training must include

instruction on:

i. How to process release orders for each court, and whom to contact ifa
question arises; .

ii. | What to do if the equipment for contacting other agencies, such as the
Jail’s fax machine or email service, malfunctions, or communication is
otherwise disrupted;

iii, Various types of court dispositions, and the language typically used
therein, to ensure staff members understand the meaning of court
orders; and

iv. | How and when to check for detainers to ensure that an individual may
be released from court after she or he is found not guilty, is acquitted,

or has the charges brought against her or him dismissed.

c. Provide detention staff with sufficient clerical support to prevent backlogs in

the filing of prisoner records.

100, The County must annually review its prisoner release and detention process to ensure that
it complies with any changes in federal law, such as the constitutional standard for civil or

pre-trial detention.

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101. The County must ensure that the Jail’s record-keeping and quality assurance policies and
procedures allow both internal and external audit of the Jail’s release process, prisoner lengths
of stay, and identification of prisoners who have been held for unreasonably long periods

without charges or other legal process. The County must, at minimum, require:

a. A Jail log that documents (i) the date each prisoner was entitled to release;
(ii) the date, time, and manner by which the Jail received any relevant court
order; (iii) the date and time that prisoner was in fact released; (iv) the time
that elapsed between receipt of the court order and release; (v) the date and
time when information was received requiring the detention or continued
detention of a prisoner (e.g., immigration holds or other detainers), and (vi)
the identity of the authority requesting the detention or continued detention
of a prisoner. ,

b. Completion of an incident report, and appropriate follow-up investigation and
administrative review, if an individual is held in custody past 11:59 PM on
the day that she or he is entitled to release. The incident report must
document the reason(s) for the error. The incident report must be submitted
to the Jail Administrator no later than one calendar day after the error was

discovered.

102. The County must appoint a staff member to serve as a Quality Control Officer with
responsibility for internal auditing and monitoring of the release process, This Quality
Control Officer will be responsible for helping prevent errors with the release process, and the
individual’s duties will include tracking releases to ensure that staff members are completing
all required paper work and checks, If the Quality Control Officer determines that an error
has been made, the individual must have the authority to take corrective action, including the
authority to immediately contact the Jail Administrator or other County official with authority
to order a prisoner’s release. The Quality Control Officer’s duties also include providing data
and reports so that release errors are incorporated into the Jail’s continuous improvement and

. quality assurance process,

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103, The County must require investigation of all incidents relating to timely or erroneous
prisoner release within seven calendar days by appropriate investigators, supervisors, and the
Jail Administrator. The Jail Administrator must document any deficiencies found and any
corrective action taken. The Jail Administrator must then make any necessary changes to Jail
policies and procedures. Such changes should be made, if appropriate, in consultation with
court personnel, the District Attorney’s Office, members of the deferise bar, and any other law

enforcement agencies involved in untimely or erroneous prisoner releases.

104. The County must conduct bi-annual audits of release policies, procedures, and practices.
As part of each audit, the County must make any necessary changes to ensure that individuals
are being released in a timely manner, The audits must review all data collected regarding
timely release, including any incident reports or Quality Control audits referenced in
Paragraph 102 above. The County must document the audits and recommendations, and must

submit all documentation to the Monitor and the United States for review.

105. The County must ensure that policies, procedures, and practices allow for reasonable
attorney visitation, which should be treated as a safeguard to prevent the unlawful detention of
citizens and for helping to ensure the efficient functioning of the County’s criminal justice
system, The Jail’s attorney visitation process must provide sufficient space for attorneys to
meet with their clients in a confidential setting, and must include scheduling procedures to
ensure that defense attorneys can meet with their clients for reasonable lengths of time and
without undue delay. An incident report must be completed if Jail staff are unable to transport
a prisoner to meet with their attorney, or if there is a delay of more than 30 minutes for

transporting a prisoner for a scheduled attorney visit.
M. CONTINUOUS IMPROVEMENT AND QUALITY ASSURANCE

The County must develop an effective system for identifying and self-correcting systemic

violations of prisoner’s constitutional rights. To that end, the County must:

106. Develop and maintain a database and computerized tracking system to monitor all
reportable incidents, uses of force, and grievances. This tracking system will serve as the

repository of information used for continuing improvement and quality assurance reports.

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107. Compile an Incident Summary Report on at least a monthly basis. The Incident
Summary Reports must compile and summarize incident report data in order to identify trends
such as rates of incidents in general, by housing unit, by day of the week and date, by shift,
and by individual prisoners or staff members. The Incident Summary reports must, at

minimum, include the following information:

a. Brief summary of all reportable incidents, by type, shift, housing unit, and
date;
b. Description of all suicides and deaths, including the date, name of prisoner,

housing unit, and location where the prisoner died (including name of hospital
if prisoner died off-site);

c, The names and number of prisoners placed in emergency restraints, and
segregation, and the frequency and duration of such placements;

d. List and total number of incident reports received during the reporting period;

é. List and Total number of incidents referred to IAD or other law enforcement

agencies for investigation.

108. Compile a Use of Force Summary Report on at least a monthly basis. The Use of Force
Summary Reports must compile and summarize use of force report data in order to identify
trends such as rates of use in general, by housing unit, by shift, by day of the week and date,
by individual prisoners, and by staff members. The Use of Force Summary reports must, at

minimum, include the following information:

Summary of all uses of force, by type, shift, housing unit, and date;

b. List and total number of use of force reports received during the reporting
period;
c, List and total number of uses of force reports/incidents referred to [AD or

other law enforcement agencies for investigation.

109. Compile a Grievance Summary Report on at least a monthly basis. The Grievance
Summary Reports must compile and summarize grievance information in order to identify
trends such as most frequently reported complaints, units generating the most grievances, and

staff members receiving the most grievances about their conduct. To identify trends and

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potential concerns, at least quarterly, a member of the Jail’s management staff must review the
Grievance Summary Reports and a random sample of ten percent of all grievances filed
during the review period. These grievance reviews, any recommendations, and corrective

actions must be documented and provided to the United States and Monitor.

110. Compile a monthly summary report of IAD investigations conducted at the Facility. The
IAD Summary Report must include: .

a. A brief summary of all completed investigations, by type, shift, housing unit,
and date;
b. A listing of investigations referred for disciplinary action or other final

disposition by type and date;

c. A listing of all investigations referred to a law enforcement agency and the
name of the agency, by type and date; and

d. A listing of all staff suspended, terminated, arrested or reassigned because of
misconduct or violations of policy and procedures. This list must also contain

the specific misconduct and/or viclation.

111. Conduct a review, at least annually, to determine whether the incident, use of force,
grievance reporting, and IAD systems comply with the requirements of this Agreement and
are effective at ensuring staff compliance with their constitutional obligations. The County
must make any changes to the reporting systems that it determines are necessary as a result of
ihe system reviews. These reviews and corrective actions must be documented and provided

to the United States and Monitor,

112. Ensure that the Jail’s continuous improvement and quality assurance systems include an
Early Intervention component to alert Administrators of potential problems with staff
members. The purpose of the Early Intervention System is to identify and address patterns of
behavior or allegations which may indicate staff training deficiencies, persistent policy
violations, misconduct, or criminal activity. As part of the Early Intervention process,
incident reports, use of force reports, and prisoner grievances must be screened by designated
staff members for such patterns. If misconduct, criminal activity, or behaviors indicate the

need for corrective action, the screening staff must refer the incidents or allegations to Jail

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supervisors, administrators, IAD, or other law enforcement agencies for investigation.
Additionally:

a. The Early Intervention System may be integrated with other database and
computerized tracking systems required by this Agreement, provided any
unified system otherwise stil] meets the terms of this Agreement,

b. The Early Intervention System must screen for staff members who may be
using excessive force, regardless of whether use of force reviews concluded
that the uses complied with Jail policies and this Agreement. This provision
allows identification of staff members who may still benefit from additional
training and serves as a check on any deficiencies with use of force by field
supervisors.

c, The Jail Administrator, or designee of at least Captain rank, must personally
review Early Intervention System data and alerts at least quarterly. The
Administrator, or designee, must document when reviews were conducted as
well as any findings, recommendations, or corrective actions taken.

d. The County must maintain a list of any staff members identified by the Early
Intervention System as possibly needing additional training or discipline. A
copy of this list must be provided to the United States and the Monitor.

é. The County must take appropriate, documented, and corrective action when
staff members have been identified as engaging in misconduct, criminal
activity, or a pattern of violating Jail policies.

f. The County must review the Early Intervention System, at least bi-annually,
to ensure that it is effective and used to identify staff members who may need
additional training or discipline. The County must document any findings,
recommendations, or corrective actions taken as a result of these reviews.
Copies of these reviews must be provided to the United States and the

Monitor.

113. Develop and implement policies and procedures for J ail databases, tracking systems, and
computerized records (including the Early Intervention System), that ensure both functionality

and data security. The policies and procedures must address all of the following issues: data

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storage, data retrieval, data reporting, data analysis and pattern identification, supervisor
responsibilities, standards used to determine possible violations and corrective action,
documentation, legal issues, staff and prisoner privacy rights, system security, and audit

mechanisms,

114. Ensure that the Jail’s medical staff are included as part of the continuous improvement
and quality assurance process. At minimum, medical and mental health staff must be

included through all of the following mechanisms:

a. Medical staff must have the independent authority to promptly refer cases of
suspected assault or abuse to the Jail Administrator, IAD, or-other law
enforcement agencies;

b. Medical staff representatives must be involved in mortality reviews and
systemic reviews of serious incidents, At minimum, a physician must prepare
a mortality review within 30 days of every prisoner death. An outside
physician must review any mortalities associated with treatment by Jail

physicians.
N. CRIMINAL JUSTICE COORDINATING COMMITTEE

115. Hinds County will establish a Criminal Justice Coordinating Committee (“Coordinating
Committee”) with subject matter expertise and experience that will assist in streamlining
criminal justice processes, and identify and develop solutions and interventions designed
to lead to diversion from arrest, detention, and incarceration. The Coordinating
Committee will focus particularly on diversion of individuals with serious mental iliness
and juveniles. Using the Sequential Intercept Model,! or an alternative acceptable to the

Parties, the Coordinating Committee will identify strategies for diversion at each

intercept point where individuals may encounter the criminal justice system, and will

\ See Mark Munetz & Patricia Griffin, Use of the Sequential Intercept Model as an

approach to decriminalization of people with serious mental iliness, Psychiatry Services,
57(4):544-549, April 2006, http://ps.psychiatryonline.org/doi/pdf/10.1176/ps.2006,57.4.544.

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assess the County’s current diversion efforts and unmet service needs in order to identify
opportunities for successful diversion of such individuals. The Committee will
recommend appropriate changes to policies and procedures and additional services

necessary to increase diversion.

116. The Coordinating Committee will include representation from the Hinds County Sheriff's
Office and Hinds County Board of Supervisors. The County will also seek representation
from Hinds County Behavioral Health Services; the Jackson Police Department;
Mississippi Department of Mental Health; Mississippi Department of Human Services,
Division of Youth Services; judges from the Hinds County Circuit, Chancery, and
County (Youth and Justice) Courts; Hinds County District Attorney Office; Hinds
County Public Defender Office; relevant Jackson city officials; and private advocates or

other interested community members.

117. The Coordinating Committee will prioritize enhancing coordination with local behavioral
health systems, with the goal of connecting individuals experiencing mental health crisis,
including juveniles, with available services to avoid unnecessary arrest, detention, and

incarceration.

118, Within 30 days of the Effective Date and in consultation with the United States, the
County will select and engage an outside consultant to provide technical assistance to the
County and Coordinating Committee regarding strategies for reducing the jail population
and increasing diversion from criminal justice involvement, particularly for individuals
with mental illness and juveniles. This technical assistance will include {aja
comprehensive review and evaluation of the effectiveness of the existing efforts to reduce
recidivism and increase diversion; (b) identification of gaps in the current efforts, (c)
recommendations of actions and strategies to achieve diversion and reduce recidivism;
and (d) estimates of costs and cost savings associated with those strategies. The review
will include interviews with representatives from the agencies and entities referenced in
Paragraph 116 and other relevant stakeholders as necessary for a thorough evaluation and
recommendation. Within 120 days of the Effective Date of this Agreement, the outside

consultant will finalize and make public a report regarding the results of their assessment

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and recommendations. The Coordinating Committee will implement the recommended
strategies and will continue to use the outside consultant to assist with implementation of

the strategies when appropriate.
IMPLEMENTATION, TIMING, AND GENERAL PROVISIONS

119. Consistent with the Prison Litigation Reform Act, the Constitution, and termination
procedures of this Agreement, the County must substantially implement all provisions of this

Agreement.

120.'The County must begin implementing the requirements of this Agreement immediately
upon the Effective Date. Unless otherwise provided in this Agreement, all provisions of the

Agreement must be implemented within one year of the Effective Date.

121, Within 30 days of the Effective Date of this Agreement, the County must distribute
copies of the Agreement to all prisoners and Jail staff, including all medical and security staff,

with appropriate explanation as to the staff members’ obligations under the Agreement. At

minimum:

a. A copy of the Agreement must be posted in each unit (including
booking/intake and medical areas), and program rooms (e.g., classrooms and
any library).

b. Individual copies of the Agreement must be provided to prisoners upon
request.

122. This Agreement is applicable to and binding upon all parties, their officers, agents,

employees, assigns, and their successors in office.

123. This Agreement is enforceable only by the Parties, No person or entity is intended to be
a third-party beneficiary of the provisions of this Agreement for purposes of any civil,
criminal, or administrative action. Accordingly, no person or entity may assert any claim or

right as a beneficiary or protected class under this Agreement.

124. All parties must bear their own costs, including attorney fees.

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125, The parties agree to defend the provisions of this Agreement. The parties must notify
each other of any court challenge to this Agreement. In the event any provision of this
Agreement is challenged in any local or state court, the parties will seek to remove the action

to a federal court.

126. The failure by either party to enforce this entire Agreement or any provision thereof, with
respect to any deadline or any other provision herein, must not be construed as a waiver of its

right to enforce any deadlines or provisions of this Agreement.

127. If any unforeseen circumstance occurs that causes a failure to timely carry out any
requirements of this Agreement, the County must notify the Monitor and the United States in

writing as soon as possible, and in any case no later than 14 days after the County becomes

aware of the unforeseen circumstance and its impact on the County’s ability to perform under

the Agreement. The notice must describe the cause of the failure to perform and the measures
taken to prevent or minimize the failure. The County must implement all reasonable measures -

to avoid or minimize any such failure.

128. In the event any provision of this Agreement is declared invalid for any reason by a court
of competent jurisdiction, said finding does not affect the remaining provisions of this

Agreement.

129, All subheadings in this Agreement are written for convenience of locating individual
provisions. If questions arise as to the meanings of individual provisions, they should be

resolved by the text of each provision.
POLICY AND PROCEDURE REVIEW

130. The County must review all existing policies.and procedures to ensure their compliance
with the substantive terms of this Agreement. Where the Jail does not have a policy or
procedure in place that complies with the terms of this Agreement, the County must draft such

a policy or procedure, or revise its existing policy or procedure.

131. The County shall complete its policy and procedure review and revision within six

months of the Effective Date of this Agreement.

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132. Once the County reviews and revises its policies and procedures, the County must
provide a copy of its policies and procedures to the United States and the Monitor for review
and comment. The County must address all comments and make any changes requested by
the United States or the Monitor within thirty (30) days after receiving the comments and

resubmit the policies and procedures to the United States and Monitor for review.

133.No later than three months after the United States’ approval of each policy and
procedure, the County must adopt and begin implementing the policy and procedure, while
also modifying all post orders, job descriptions, training materials, and performance

evaluation instruments in a manner consistent with the policies and procedures.

134. Unless otherwise agreed to by the parties, all new or revised policies and procedures must

be implemented within six months of the United States’ approval of the policy or procedure.

135, The County must annually review its policies and procedures, revising them as necessary.
Any revisions to the policies and procedures must be submitted to the United States and the

Monitor for approval in accordance with paragraphs 129-131 above,
MONITORING
A. SELECTION AND AUTONOMY OF THE MONITOR

136. This Agreement must be monitored by an individual approved by the Court. Within
thirty (30) days after the Effective Date, the United States and the County must jointly submit
a proposed Monitor to the Court for approval. If the parties cannot agree on a joint Monitor,
each party must submit the names and curricula vitae of three proposed candidates to the

Court for approval, and the Court will select one of the candidates from the parties’ lists.

137. If the Monitor position becomes vacant during the life of the Agreement, within 90 days
of the vacancy, the United States and the County will jointly submit a new proposed Monitor
to the Court for approval. If the parties cannot agree on a joint Monitor, each party must
submit the names and curricula vitae of up to three proposed candidates to the Court for

approval, and the Court will select one of the candidates from the parties’ lists.

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138. The cost of the Monitor’s fees and expenses will be borne by the County, The County
will contract with the Monitor to provide these monitoring services. As part of that contract, a
reasonable budget will be agreed upon by and between the County and the Monitor to include
a maximum dollar amount that can be spent in a given twelve (12) month period. The County
will provide the Monitor with a budget sufficient to carry out the responsibilities described in

this Agreement,

139. The Monitor only has the duties, responsibilities, and authority conferred by this
Agreement. The Monitor must be subject to the supervision and orders of the Court and

applicable law.

140, Neither the County nor the United States, nor any of their employees or agents, may have
any supervisory authority over the Monitor’s activities, reports, findings, or recommendations.
The Monitor may be terminated only by (i) joint stipulation of the parties; or (ii) for good

cause unrelated to the Monitor’s findings, as approved by the Court.

141.The Monitor may contract or consult with other individuals or entities to assist in the
evaluation of compliance. The Monitor will pay for the services out of his/her budget. These
individuals and entities must be governed and bound by the terms of this Agreement as the
Monitor is governed and bound by those terms. The Monitor may engage in ex parte

communications with the County and the United States regarding this Agreement.
B. MONITOR’S AND UNITED STATES’ ACCESS

142. The Monitor and United States will have full and complete access to the Jail, Jail
documents and records, prisoner medical and mental health records, staff members, and

prisoners.
143. The Parties shall have the opportunity to participate in all monitoring site visits.

144. The County must maintain sufficient records to document that the requirements of this
Agreement are being properly implemented and must make such records available to the
United States or Monitor at all reasonable times for inspection and copying. The County must

maintain, and submit upon request, records or other documents to verify that the County has

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taken such actions as described in any self-assessment compliance reports (€.g., census

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summaries, policies, procedures, protocols, training materials and incident reports),

manner,

147, Within seven days of receipt, the Monitor will distribute to the United States al]
documents, forms, assessments, and reports submitted by the County to the Monitor unless the
County has already distributed a copy of such items to the United States,

Cc. MONITOR REPORTING

148. Within three months of the Effective Date, the Monitor will conduct a baseline site visit
of the Jail to assess the Jail’s Status regarding the obligations under this Agreement, This
baseline visit will include a preliminary evaluation of how County policies and practices
address each paragraph of this Agreement. As a result of the baseline site visit, the Monitor
will design a monitoring plan. The baseline site visit will allow the Monitor to become
familiar with the Jail and this Agreement. It will also allow the Monitor to inform the County
and United States regarding what information the Monitor will require the County to routinely

report and with what frequency, consistent with this Agreement.

149. The Monitor must conduct an on-site inspection and issue a Compliance Report four
months after the baseline visit. The Monitor must then conduct an on-site inspection at least
every four months thereafter, and issue a draft Compliance Report 30 days after each
inspection, A draft Report must be provided to the County and the United States for comment
at least thirty (30) days prior to its issuance as a final Report. If any party wishes to comment,
comments must be submitted to the Monitor no later than 10 business days after the draft is
provided to the parties. The Monitor must consider the comments of the County and the

“United States, if any, before issuing each final Compliance Report,

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150, The Compliance Reports must describe the steps taken by the County to implement this
Agreement and evaluate the extent to which the County has complied with each substantive
provision of the Agreement. Findings in the Monitor’s Reports will be considered persuasive,

but rebuttable, in Court. Each Report:

a. Must evaluate the status of compliance for cach provision of the Agreement
using the following standards: (1) Substantial Compliance; (2) Partial
Compliance; and (3) Non-complianée.

b. Must be based on the Monitor’s review of a sufficient number of pertinent
documents and interview a sufficient number of staff and prisoners to
accurately assess current conditions.

C. May include information received by the Monitor through communication
with former prisoners and staff, family members, local officials, criminal
justice officials (including representatives of both the District Attorney’s
Office and Public Defender’s Office), private defense attorneys, and relevant
community members, so long as such communication is consistent with
applicable law.

d. Must describe the steps taken by the Monitor to analyze conditions and assess
compliance. This description must include identifying any documents
reviewed and individuals interviewed, and the factual basis for each of the
Monitor’s findings. The report, however, must be prepare with due regard for
the privacy interests of individuals.

€. Must contain the Monitor’s independent verification of representations from
the County regarding progress toward compliance.

£ Must provide recommendations to assist the County in attaining compliance
with the Agreement, including a proposed outline of corrective actions that
the County should implement within the next six months after issuance of the
Monitor’s report.

g. Must be filed with the Court.

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151. Nothing in this Section prohibits the Monitor from issuing interim letters or reports to the
United States, the County, or the Court in this case, should the Monitor deem such

correspondence necessary.
D. LIMITATIONS

152. The Monitor may not make any public statements (at a press.conference or otherwise)
with regard to any act or omission of the County, or disclose information provided to the
Monitor pursuant to this Agreement, except as authorized by this Agreement, the Court, or by

joint stipulation of the parties.

153. The Monitor may not testify in any other litigation or proceeding with regard to any act
or omission of the County, or the County’s agents, representatives, or employees, as those acts
or omissions relate to this Agreement. The preceding restriction does not apply to any legal
action brought by the Monitor against the County to obtain compensation for past services or
to enforce the Monitor’s rights under this Agreement. Unless called to testify by the Court or
one of the parties to this Agreement, the Monitor may not testify regarding any matter or
subject that he or she may have learned as a result of his or her performance under this
Agreement. Unless such conflict is waived in writing by the County and the United States,
the Monitor must not accept employment or provide consulting services that would present a
conflict of interest with the Monitor’s responsibilities under this Agreement, including being
retained (on a paid or unpaid basis) by any current or future private litigant or claimant, or
such litigant’s or claimant’s attorney, in connection with a claim or suit against the County or
the United States, including their departments, officers, agents or employees, regarding the
subject matter of this case. If the parties cannot agree on whether to waive a conflict, they
may seek appropriate relief from the Court. The mere fact that the Monitor provides expert
opinion or consulting services regarding civil rights or institutional reform does not itself

constitute a conflict, where such opinion or services are provided in another jurisdiction.

154, The Monitor is not a State, County or local agency; nor is the Monitor an agent thereof.
Accordingly, records maintained or in the custody of the Monitor must not be deemed. public

records subject to public inspection.

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155. The Monitor will provide the County with technical assistance as reasonably requested.
Technical assistance requests must not interfere with the Monitor’s independence and ability

to assess compliance.

156, The Monitor will convene regular monthly conference calls with the County and the
United States to discuss implementation of the terms of the Agreement, updates, and any other

items that the Monitor or the parties wish to discuss.

157. The County, including its agents, representatives, and employees, is prohibited from
retaliating against any person for providing information or assistance to the Monitor or the
United States relating to this Agreement. If the Court finds that such retaliation has occurred,
it may issue appropriate relief, including issuance of an appropriate protective order,

sanctions, and referral for criminal prosecution.

158. The Monitor must treat all personally identifiable information obtained pursuant to this
Agreement as confidential. While the Monitor may comply with this provision by using
pseudonyms, codes, or initials when describing individual prisoners in any Compliance
Report, the Monitor must also maintain akey, The Monitor must provide the key to the
County and the United States, when submitting any Compliance Report, unless there is
reasonable concern that such provision would subject the individual to retaliation. A copy of
the key must be filed under seal with the Court if the Court requires filing of the key with the
Compliance Report.

COUNTY SELF-ASSESSMENT REPORT AND COMPLIANCE
COORDINATOR

159. The County must file a self-assessment compliance report. The first compliance
self-assessment report must be filed with the Court within four months of the Effective Date
and at least one month before a Monitor site visit. Each self-assessment compliance report
must describe in detail the actions the County has taken during the reporting period to
implement this Agreement and must make specific reference to the Agreement provisions
being implemented. The report must include information supporting the County’s

representations regarding its compliance with the Agreement such as quality assurance

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information, trends, statistical data, and remedial activities. Supporting information should be
based on reports or data routinely collected as part of the audit and quality assurance activities
required by this Agreement (c.g., incident, use of force, system, maintenance, and early
intervention), rather than generated only to support representations made in the self-

assessment,

160. The County must designate a full-time Compliance Coordinator to coordinate compliance

activities required by this Agreement. This person will serve as a primary point of contact for

the Monitor. Two years after the Effective Date of this Agreement, the Parties may consult
with each other and the Monitor to determine whether the Compliance Coordinator’s hours

may be reduced. The Parties may then stipulate to any agreed reduction in hours.
EMERGENT CONDITIONS

161. The County must notify the Monitor and United States of any prisoner death, riot, escape,
injury requiring hospitalization, or over-detention of a prisoner (i.e., failure to release a
prisoner before 11:59 PM on the day she or he was entitled to be released), within 3 days of

learning of the event.
JURISDICTION AND ENFORCEMENT

162. The United States District Court for the Southern District of Mississippi will retain
jurisdiction over this matter for the purposes of enforcing this Agreement. The Court’s
jurisdiction extends to any facilities built, contracted, modified, or used by the County to

house prisoners during the life of this Agreement.

163, During the period that this Agreement is in force, prior to initiating any enforcement
proceedings in Court for an alleged failure to fulfill an obligation under this Agreement, the
aggrieved party will notify the other party in writing of the facts supporting the aggrieved
party’s belief that the other party is not in compliance. The responding party will investigate
the allegations and respond in writing within 30 days. If the parties are unable to resolve the
issue(s) satisfactorily within 30 days of the written response, the aggrieved party may move
the Court for any relief permitted by law or equity. In the event of an emergency (i.c.,

imminent threat to the life, health, or safety of prisoners), the United States may seek

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immediate relief without providing the notice and conciliation otherwise required by this

provision.
CONSTRUCTION AND TERMINATION

164. This Agreement will terminate if the parties jointly stipulate that the County has achieved
and maintained substantial compliance with the Agreement for at least two years, and the

Court then enters an appropriate order terminating the Agreement and dismissing jurisdiction.

165. If the parties do not jointly stipulate to dismissal, the County may file a unilateral motion
to dismiss. The County may not file a unilateral motion to dismiss until this Agreement has
been in effect for at least two years. Unless otherwise directed by the Court, the burden will
be on the County to demonstrate that the County substantially implemented each provision of
the Agreement, and that such compliance was maintained continuously for the two years prior
to filing of the motion, Non-compliance with mere technicalities, or temporary failure to
comply during a period of otherwise substantial compliance, will not constitute failure by the
County to maintain compliance. At the same time, temporary compliance during a period of

sustained non-compliance will not constitute substantial compliance,

STIPULATION PURSUANT TO THE PRISON LITIGATION REFORM ACT,
18 U.S.C. § 3626

166. The United States and the County stipulate and agree that this Agreement complies in all
respects with the requirements for prospective relief under the Prison Litigation Reform Act,
18 U.S.C. § 3626(a).

167. The United States and the County stipulate and agree that all of the prospective relief in
this Agreement is narrowly drawn, extends no further than necessary to correct the violations
of federal rights as set forth by the United States in its Complaint and Findings Letter, is the
least intrusive means necessary to correct these violations, and will not have any adverse

impact on public safety or the operation of a criminal justice system.

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